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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

In Re:
Billy Joe Crawford, Jr. Case — 17-36174
Jean Lannett Crawford Chapter 13

Debtors
DHI Fund, LP

Movant

Hearing Date: June 21, 2018

Vs Hearing Time: 2:00 PM
Billy Crawford and Jean Crawford

Respondents

MOTION FOR RELIEF FROM AUTOMATIC STAY REGARDING
POSSESSORY INTEREST IN 18203 MAPLE ARBOR COURT, CYPRESS, TEXAS

This is a motion for relief from the automatic stay. If it is granted, the movant may act
outside of the bankruptcy process. If you do not want the stay lifted, immediately contact
the moving party to settle. If you cannot settle, you must file a response and send a copy
to the moving party at least 7 days before the hearing. If you cannot settle, you must
attend the hearing. Evidence may be offered at the hearing and the court may rule.

Represented parties should act through their attorney.

There will be a hearing on this matter on June 21, 2018 at 2:00 PM in Courtroom 400,
515 Rusk, Houston, TX 77002.

TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

1. Parties. This Motion for Relief from Automatic Stay is filed on behalf of DHI Fund,
LP (“Movant” herein) pursuant to 11 U.S.C. § 362(d)(2), for good cause, to wit: Debtors lack
any ownership interest or equity in the real property the subject of this motion, which Movant
purchased at foreclosure sale on January3, 2017; prior to the Debtors filing the instant
bankruptcy.

2. Jurisdiction. The court has jurisdiction of this motion pursuant to 11 U.S.C. §§ 103
and 362, and pursuant to 28 U.S.C. §§ 157(b) and 1334(b).

3. Background.

a. Movant is the owner of the property made the subject of this motion,
having purchased it at a Constable’s Foreclosure Sale on J anuary 3, 2017 pursuant

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to an Order of the 61 District Court of Harris County, Texas under cause 2015-
62925 styled Lakeside Residential Community Association, Inc. vs Billy Crawford
& Jean L. Crawford rendered on May 27, 2016. The Deed under Execution and
Order of Sale evidencing ownership is attached as Exhibit “A”. The Order from
the 61* District Court commanding the Constable to sale the property is attached
hereto as Exhibit “B”.

b. The property made the subject of this motion was previously owned by the .
Debtors and they continue to reside there as tenants—at—sufferance.

c. Movant purchased the property at January 3, 2017. The Deed under
Execution and Order of Sale was filed for record under Instrument PR-2017-
226932 in the real property records of Harris County, Texas.

d. Debtor filed the instant bankruptcy on November 6, 2017. Therefore,
Debtors have no ownership interest in the Property at the time he filed
bankruptcy.

4. Subject Property. The property made the subject of this motion is the parcel of real
property together with all improvements thereupon situation at, at commonly known as 18203
MAPLE ARBOR COURT, CYPRESS, TEXAS (“Property” herein), described with greater
particularity as:

LOT TWENTY (20), BLOCK THREE (3), OF VILLAGES OF CYPRESS
LAKES, SECTION TWO, A SUBDIVISION IN HARRIS COUNTY, TEXAS,
ACCORDING TO THE MAP OR PLAT RECORDS THEREOF RECORDED
UNDER FILM CODE NO(S). 523193 AND AMENDED BY 536104 OF THE
MAP RECORDS OF HARRIS COUNTY, TEXAS.

5. Prayer. Based upon the foregoing, Movant seeks termination of the Automatic Stay to
allow Movant to obtain possession of the property that is the subject of this motion and granting
Movant all further relief to which it may show itself justly entitled, whether at law or in equity.

Respectfully submitted,
BARRY & SEWART, PLLC

/S/ Nicholas M. Frame

Anna C. Sewart, SBN: 24029832
Keith A. Wolfshohl, SBN: 24047135
Nicholas M. Frame, SBN: 24093448
Austin R. Dubois, SBN: 24065170

4151 Southwest Freeway Suite 680
Houston, Texas 77027

Tel: (713) 722-0281

Fax: (713) 722-9786

Attorneys for DHI Fund, LP
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CERTIFICATE OF CONFERENCE

I certify that prior to filing the proceeding Motion for Relief, several attempts were made
to confer with Debtors’ attorney as shown below. Debtors’ Attorney could not be reached to
discuss this matter.

Date Time

May 18, 2018 3:08 P.M.
May 21, 2018 9:08 A.M.
May 23, 2018 8:47 A.M.

/S/ Nicholas M. Frame
Nicholas M. Frame

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing motion for relief was served upon the
parties listed below on this the 23" day of May 2018.

Billy Joe Crawford, Jr.
18203 Maple Arbor Court
Cypress, TX 77429
Debtor

Timothy Webb
WEBB ASSOCIATES
3401 Louisiana St
Ste 120

Houston, TX 77002
Debtors’ Attorney

OFFICE OF THE US TRUSTEE
515 Rusk Ave

Ste 3516

Houston, TX 77002

U.S. Trustee

WELLS FARGO BANK, N.A
Default Document Processing
1000 Blue Gentian Road
Eagan, Minnesota 55121-7700
Party Requesting Service

Jean Lannett Crawford
18203 Maple Arbor Court
Cypress, TX 77429
Debtor

William E. Heitkamp

OFFICE OF CHAPTER 13 TRUSTEE
9821 Katy Freeway

Ste 590

Houston, TX 77024

Bankruptcy Trustee

SYNCHRONY BANK

c/o PRA Receivables Management, LLC
PO Box 41021

Norfolk, VA 23541

Party Requesting Service

Paul W. Cervenka

BONIAL & ASSOCIATES, P.C.
14841 Dallas Parkway, Suite 300
Dallas, Texas 75254

Party Requesting Service

/S/ Nicholas M. Frame
Nicholas M. Frame
